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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF MUTUAL                      )
INSURANCE COMPANIES,                                )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )       No. 1:13-cv-00966 (RJL)
                                                    )
UNITED STATES DEPARTMENT OF                         )
HOUSING AND URBAN DEVELOPMENT,                      )
et al.,                                             )
                                                    )
               Defendants.                          )
                                                    )

                                  JOINT STATUS REPORT

       Plaintiff, National Association of Mutual Insurance Companies (“NAMIC”), asserts a chal-

lenge under the Administrative Procedure Act to the application of the U.S. Department of Housing

and Urban Development’s (“HUD”) 2013 Rule, entitled Implementation of the Fair Housing Act’s

Discriminatory Effects Standard, 78 Fed. Reg. 11460 (Feb. 15, 2013) (A.R. 611) (“the 2013 Rule”),

to risk-based pricing and underwriting of homeowners, property, and hazard insurance. After pub-

lic notice-and-comment rulemaking, on September 24, 2020, HUD published in the Federal Register

a final rule replacing the 2013 Rule, which was set to take effect on October 26, 2020. See 85 Fed.

Reg. 60288 (Sept. 24, 2020) (“the 2020 Rule”). On October 25, 2020, a district court issued an

order postponing the effective date of the 2020 Rule. See Mass. Fair Hous. Ctr. v. U.S. Dep’t of

Hous. & Urban Dev., No. CV 20-11765-MGM, 2020 WL 6390143 (D. Mass.). On February 9,

2021, HUD filed a consent motion to voluntarily dismiss the then-pending appeal of the district

court’s decision. See Mass. Fair Hous. Ctr. v. U.S. Dep’t of Hous. & Urban Dev., No. 21-1003,

Entry ID 6400379 (1st Cir. Feb. 9, 2021).

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        On January 26, 2021, President Biden issued a “Memorandum on Redressing Our Nation’s

and the Federal Government’s History of Discriminatory Housing Practices and Policies,” directing

the Secretary of HUD to,

        as soon as practicable, take all steps necessary to examine the effects of the [2020
        Rule]. . . , including the effect that amending the [2013 Rule] has had on HUD’s
        statutory duty to ensure compliance with the Fair Housing Act. Based on that exam-
        ination, the Secretary shall take any necessary steps, as appropriate and consistent
        with applicable law, to implement the Fair Housing Act’s requirements that HUD
        administer its programs in a manner that affirmatively furthers fair housing and
        HUD’s overall duty to administer the Act . . . including by preventing practices with
        an unjustified discriminatory effect.

https://www.whitehouse.gov/briefing-room/presidential-actions/2021/01/26/memorandum-on-re-

dressing-our-nations-and-the-federal-governments-history-of-discriminatory-housing-practices-

and-policies/.   Pursuant to the President’s directive, HUD began actively examining the discrimi-

natory effects rules, and on April 12, 2021, HUD sent to the Office of Management and Budget

(“OMB”) a draft proposed rule for inter-agency review.            See https://www.reginfo.gov/pub-

lic/do/eoDetails?rrid=162113.    The parties’ respective positions are as follows:

        Plaintiff’s Position: As the Court is aware, the 2013 Final Rule remains in effect because

of the issuance of the nationwide preliminary injunction against the 2020 Rule in Massachusetts

Fair Housing Center. On January 26, 2021, the Biden Administration issued its “Memorandum

on Redressing Our Nation’s and the Federal Government’s History of Discriminatory Housing

Practices and Policies,” which explained that the Administration intended to reconsider the 2020

Rule. Following that announcement, HUD voluntarily dismissed the appeal that it had taken under

the Trump Administration from the preliminary injunction in Massachusetts Fair Housing Center.

On April 12, 2021, HUD sent a draft of a proposed rule to the Office of Management and Budget

for inter-agency review titled “Reinstatement of HUD’s Discriminatory Effects Standard (FR-

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6251).” See https://www.reginfo.gov/public/do/eoDetails?rrid=162113.

       Although the substance of the proposed rule is not available to the public, it is apparent that

HUD intends to repeal the now-enjoined 2020 Rule and reinstate the 2013 Rule, which is currently

in effect. HUD certainly has offered no indication to the contrary. Meanwhile, Plaintiff’s motion

for summary judgment challenging the 2013 Rule, including on the ground that it fails to meet the

requirements articulated by the Supreme Court in Texas Department of Housing and Community

Affairs v. Inclusive Communities Project, Inc., 135 S. Ct. 2507 (2015), has been fully briefed since

October 28, 2016.

       Given the significant delays that have already occurred and HUD’s clear intention to rein-

state the 2013 Rule, Plaintiff respectfully requests an argument date on its motion for summary

judgment at the Court’s earliest convenience. In the alternative, Plaintiff requests that the Court

set a status conference in approximately 30 days, at which time HUD should be required to explain

why the challenge to the 2013 Rule is not ripe for argument.

       Defendants’ Position: As a result of HUD’s recent action, a proposed rule addressing the

very rule at issue in this case is under active consideration by the Executive Branch via the Office of

Management and Budget’s (“OMB”) inter-agency review process. In light of that ongoing consid-

eration, Defendants respectfully request a continuation of the stay in this case for 90 days, or until

July 14, 2021, on which date Defendants propose that the parties file another joint status report to

update the Court on the status of the proposed rule and propose any next steps as appropriate.

       As the Court is aware, oral argument in this case was deferred at the beginning of the Trump

Administration to allow for the appointment of political leadership, including the General Counsel




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of HUD and the Assistant Attorney Generals of the Civil and Civil Rights Divisions of the Depart-

ment of Justice. See Tr. 5:7-14, 9:20-10:18 (May 16, 2017). And when HUD subsequently en-

gaged in notice-and-comment rulemaking, the Court and the parties agreed to continue the stays in

this case to allow for that administrative process to take place before continuing to litigate over a

rule that was under active reconsideration.   See, e.g., ECF Nos. 100, 103, 107-119. The Govern-

ment believes the same deference should be accorded to the new administration both to accommo-

date the ongoing administrative process and to allow key decision-makers to determine how HUD

should proceed.

       It is not, as Plaintiff would have it, “apparent” that HUD will adopt a rule identical to the

2013 Rule. As Plaintiff acknowledges, the substance of the draft proposed rule submitted to OMB

is not yet public, and in any event, it is also not yet settled. “[A] central purpose of notice-and-

comment rulemaking is to subject agency decisionmaking to public input and to obligate the

agency to consider and respond to the material comments and concerns that are voiced,” Make The

Rd. New York v. Wolf, 962 F.3d 612, 634 (D.C. Cir. 2020)—all in an effort “to get the wisest rules,”

Dismas Charities, Inc. v. U.S. Dep’t of Just., 401 F.3d 666, 680 (6th Cir. 2005). “On top of that,

part of the purpose of notice and comment rulemaking is to ensure the parties develop a record for

judicial review.” Make The Rd. New York, 962 F.3d at 634 (internal quotation and citations omit-

ted). Plaintiff’s proposal would undermine both of these purposes and put HUD—and this Court—

in the precarious position of having to take a position on a rule under active inter-agency consider-

ation and before HUD could consider public input and publish a final rule.

       The Government understands that this matter has been stayed for a lengthy period of time.

But within days of the commencement of the new administration, the President directed HUD to


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examine amendments to the 2013 Rule and to take any necessary steps to prevent discriminator y

effects in housing.     And in less than three months, HUD has already taken significant steps by

drafting and sending a proposed rule to OMB for inter-agency consideration.          That rulemaking

process will directly implicate the issues in this litigation.   Accordingly, Defendants believe it is

reasonable and prudent, as Plaintiff conceded at times during the last administration, to allow for

the continuation of the rulemaking process, rather than proceeding with argument on a rule under

active consideration.    Defendants therefore respectfully request a 90-day continuation of the stay

in this case and propose that the parties file another joint status report on July 14, 2021, at which

time HUD anticipates it will likely be able to provide an update on the nature and timing of any

next steps.

        Although the Government does not believe it is appropriate to proceed with oral argument

at this time, if the Court determines to do so, the Government believes it would be appropriate for

the parties to update the Court with short supplemental briefs prior to oral argument and requests

that the Court direct the parties to confer and propose a briefing and oral argument schedule to

allow sufficient time for decision-makers in the new administration to familiarize themselves with

the issues and review any supplemental briefing prior to oral argument.

Date: April 15, 2021                            Respectfully submitted,


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